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                                 KELLI D. BOTTGER                              01/14/2021




   · · · · · · ·UNITED STATES DISTRICT COURT

   · · · · · · ·EASTERN DISTRICT OF LOUISIANA

   · · · · · · · · ·NEW ORLEANS DIVISION



   MAIGAN FRANCIS· · · · · :·          ·CIVIL ACTION NO.
   · · · · · · · · · · · · :·          ·5:19-CV-14315
   · · · · · · · · · · · · :
   VERSUS· · · · · · · · · :·          ·SECTION: A/2
   · · · · · · · · · · · · :
   · · · · · · · · · · · · :
   AMERICAN FEDERATION· · ·:·          ·DISTRICT JUDGE JAY C.
   FOR CHILDREN, INC.· · · :·          ·ZAINEY




   · · ·VIDEO REMOTE DEPOSITION OF KELLI D. BOTTGER
   · · · · · · · · · ·January 14, 2021




   Stenographically Reported by:
   Karen Tyler, CCR(LA), CSR(TX), TCRR, CRR, CRC
   Registered Diplomate Reporter
   Notary Public


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                                                                                            2
·1· ·REMOTE APPEARANCES:

·2· · · ·COUNSEL FOR PLAINTIFF:

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11

12· · · ·VIDEOGRAPHER:· Mr. Bobby Bryant

13· · · ·ALSO PRESENT:· Ms. Maigan Francis

14

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·1· · · · · · · · · S T I P U L A T I O N S
·2
·3· · · · · ·The video remote deposition of KELLI D.
·4· ·BOTTGER, taken by counsel for Plaintiff,
·5· ·Ms. Julianna P. Parks, pursuant to Notice and
·6· ·agreement by and between counsel, for all purposes as
·7· ·allowed by the Federal Rules of Civil Procedure,
·8· ·before Karen Tyler, Certified Court Reporter, with the
·9· ·parties being in Louisiana and Virginia, on
10· ·January 14, 2021.· It being stipulated by and between
11· ·counsel that all formalities, with the exception of
12· ·the swearing of the witness, are waived.
13· · · · · ·It being further stipulated that the reading
14· ·and signing of the deposition are waived by counsel
15· ·and by the witness.
16· · · · · ·It being further stipulated that all
17· ·objections, except as to the form of the question and
18· ·responsiveness of the answer, are reserved until the
19· ·time of trial.
20· ·///
21· ·///
22· ·///
23· ·///
24· ·///
25· ·///

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·1· ·37397 Cypress Alley Avenue, Gonzales, Louisiana 70737.
·2· · · ·Q.· All right.· What is your work email address
·3· ·that you're currently using?
·4· · · ·A.· kbottger@federationforchildren.org.
·5· · · ·Q.· Have you ever been sued?
·6· · · ·A.· No, ma'am.
·7· · · ·Q.· Have you ever been involved in any lawsuit as
·8· ·a witness or a plaintiff or any other party?
·9· · · ·A.· No, ma'am.
10· · · ·Q.· Have you ever testified in court?
11· · · ·A.· No, ma'am.
12· · · ·Q.· All right.· And you are currently employed
13· ·with AFC; is that correct?
14· · · ·A.· Yes, ma'am.
15· · · ·Q.· And what is the title of your position?
16· · · ·A.· I'm a regional government affairs director.
17· · · ·Q.· Okay.· Can you tell me a little bit about
18· ·what that involves?
19· · · ·A.· Yes, ma'am.· So I specialize in electoral
20· ·work and government affairs work, such as lobbying.                               I
21· ·have both the State of Louisiana as well as the State
22· ·of Texas.· And so I try and build coalitions.                           I
23· ·obviously oversee all work in Louisiana, and then I
24· ·assist in the work in Texas.· We recently just
25· ·conducted some elections there.

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·1· · · ·Q.· Okay.· And what was your husband's name?
·2· · · ·A.· His official name is Justin Blake Bottger.
·3· · · ·Q.· Okay.· And what about your first husband?
·4· · · ·A.· I cannot remember his middle name, but it's
·5· ·Eric Lee was his.
·6· · · ·Q.· How do you spell Lee?
·7· · · ·A.· L-e-e.
·8· · · ·Q.· And did you have any children in that first
·9· ·marriage?
10· · · ·A.· No, ma'am.
11· · · ·Q.· Okay.· And your second marriage, did you have
12· ·any children?
13· · · ·A.· One son, yes, ma'am.
14· · · ·Q.· Okay.· What -- what is his birthday?
15· · · ·A.· 3/18 of '11.
16· · · ·Q.· I have a son born in '11 too.· Let's see.
17· ·All right.· And do you have custody of your son right
18· ·now, now that you are separated or divorced?
19· · · ·A.· I have 50/50 custody.
20· · · ·Q.· 50/50.
21· · · ·A.· If that counts.
22· · · ·Q.· Okay.· And can you tell me how that works?
23· ·Is it week on, week off?· Weekends?
24· · · ·A.· Week on, week off.
25· · · ·Q.· Okay.· So your ex-husband lives somewhere

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·1· ·near you?
·2· · · ·A.· Yes, ma'am.· Like within a mile.
·3· · · ·Q.· So your son is almost ten.
·4· · · ·A.· Yes, ma'am.
·5· · · ·Q.· And what is the name of your fiance?
·6· · · ·A.· Joseph Nicholas Danehower.
·7· · · ·Q.· Can you spell that last name?
·8· · · ·A.· D-a-n-e-h-o-w-e-r.
·9· · · ·Q.· And does he have any children?
10· · · ·A.· Yes, ma'am.· One daughter.
11· · · ·Q.· And how old is she?
12· · · ·A.· Ten.
13· · · ·Q.· Okay.· So you said you got divorced in 2018,
14· ·January of 2018; is that correct?
15· · · ·A.· I think that's right.· I honestly would have
16· ·to look at the paperwork.
17· · · ·Q.· Do you know --
18· · · ·A.· Because I know I filed in -- It has to be
19· ·'18, I think.
20· · · ·Q.· Do you know when you were separated?
21· · · ·A.· It was August, I think, of 2016.
22· · · ·Q.· Okay.· And did you immediately start this
23· ·week on/week off custody, or how did it work?
24· · · ·A.· Yes, ma'am.
25· · · ·Q.· So that's been the custody arrangement since

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·1· ·your separation.
·2· · · ·A.· Yes, ma'am.
·3· · · ·Q.· So where did you work when your son was born?
·4· · · ·A.· Well, for the first six months of his life, I
·5· ·was teaching at Dutchtown Primary School.
·6· · · ·Q.· Okay.
·7· · · ·A.· And then I transferred and took the job at
·8· ·the Associated Professional Educators of Louisiana.
·9· · · ·Q.· Okay.· And so that would have been in
10· ·September of '11?
11· · · ·A.· It was in February of -- it was in February
12· ·of 2012.
13· · · ·Q.· Okay.· So did you work at Dutchtown Primary
14· ·until then?
15· · · ·A.· Yes, ma'am.· So I think my maternity leave
16· ·started in March, and I went back in August.· So I
17· ·taught from August to February with Riley -- right? --
18· ·August, September, October, November, December,
19· ·January -- oh, seven months.· I'm sorry.· Not six.
20· · · ·Q.· Okay.· So from March to August, you were home
21· ·with the child?
22· · · ·A.· Yes, ma'am.
23· · · ·Q.· And did you do any other work during that
24· ·time?· Any other side jobs or --
25· · · ·A.· No, ma'am.

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·1· · · ·Q.· All right.· Now we're going to switch gears a
·2· ·little bit.
·3· · · · · ·Tell me about your impressions of Maigan
·4· ·Francis.
·5· · · ·A.· Can you clarify the question?
·6· · · ·Q.· I mean, let's just -- if you had to describe
·7· ·her in a few sentences, what would you say?
·8· · · ·A.· Are we talking about work or personality?
·9· · · ·Q.· Whatever comes to your mind first.· If
10· ·somebody said, do you know Maigan Francis, what -- how
11· ·would you respond?
12· · · ·A.· I would say yes, I know her.· She's a really
13· ·nice girl.
14· · · ·Q.· Okay.· Personality-wise, how would you
15· ·describe her?
16· · · ·A.· She's nice.· She's laid back for most
17· ·account.
18· · · ·Q.· Is she a tough personality to work with?
19· · · ·A.· It depends on the situation.
20· · · ·Q.· Okay.· So what situation would she be an easy
21· ·person to work with?
22· · · ·A.· As long as everything was fine and you agreed
23· ·on work that needed to be done, it was fine to work
24· ·with her.
25· · · ·Q.· Okay.· And when would be a situation when she

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·1· ·wasn't fine to work with?
·2· · · ·A.· If she didn't like your decision, she would
·3· ·push back, be insubordinate in those cases, and try
·4· ·and change and continue to ask you until you changed
·5· ·your decision.
·6· · · ·Q.· And can you give me an example of that?
·7· · · ·A.· Yes, ma'am.· So there was a Catholic
·8· ·conference that we were short on funding that year,
·9· ·and Paul and I had sat and met with Maigan and told
10· ·her that because of budget constraints that only one
11· ·person could go to this conference.· And so in person,
12· ·we told her, please just go on your own.· Do not take
13· ·staff.· Because in previous years, they had taken two
14· ·or three staff members, and it did put a drain on the
15· ·team because it was in Biloxi.
16· · · · · ·And at the meeting she said, okay, no big
17· ·deal.· But then I received subsequent texts and emails
18· ·asking me to reconsider, and when I wouldn't
19· ·reconsider, she did it anyway and brought a staff
20· ·member, which was not my directions to her in multiple
21· ·conversations.
22· · · ·Q.· Okay.· So did the -- did AFC pay for it, even
23· ·though it wasn't authorized?
24· · · ·A.· So it was authorized for her to attend.· It
25· ·was not authorized for her to bring a staffer.· And

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·1· ·yes, we ended up, through our credit card, because it
·2· ·was authorized for her to go, ended up paying for the
·3· ·other staffer as well, because I didn't know until
·4· ·afterwards she disregarded my instructions and Paul's
·5· ·instructions and took the staffer anyway.
·6· · · ·Q.· So what were the additional charges due to
·7· ·the staffer going along?
·8· · · ·A.· I don't know.· I'd have to go back and look
·9· ·that up.· But it was obviously a hotel room and food.
10· · · ·Q.· Okay.· So the hotel room is not going to cost
11· ·any more by having the -- was it an extra hotel room?
12· · · ·A.· Yes, ma'am.
13· · · ·Q.· Okay.
14· · · ·A.· Everybody stays in separate rooms.
15· · · ·Q.· Okay.· So AFC paid for a separate hotel room?
16· · · ·A.· Yes, ma'am.
17· · · ·Q.· And additional meals?
18· · · ·A.· Yes, ma'am.
19· · · ·Q.· Even though it wasn't authorized?
20· · · ·A.· Yes, ma'am.· Because it wasn't that staffer's
21· ·fault for going, because she didn't know that we had
22· ·said do not go.· So you can't penalize a staffer for
23· ·another staffer's insubordination.
24· · · ·Q.· What year did that happen?
25· · · ·A.· I think that was in 2018.· I'd have to rely

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·1· ·of summer and goes through the end of January for the
·2· ·simple fact is, we do parent satisfaction surveys
·3· ·during that time.· We have the marketing campaign that
·4· ·always starts during that time.· And so it's customary
·5· ·for us to start planning in July for the big
·6· ·implementation push.
·7· · · ·Q.· Okay.· So tell me the kind of things that you
·8· ·went over in this meeting.
·9· · · ·A.· So in this meeting, we gave her a list of
10· ·spreadsheets.· We gave her three different
11· ·spreadsheets of what kind of information we wanted.
12· ·So a list of schools, principals, intake --
13· ·information that we needed if we were going to do
14· ·Maigan's job while she was out on maternity leave.
15· ·Because obviously implementation can't stop.· And so
16· ·our team, we're a good team; we're like a family; we
17· ·were going to pick up and do her work while she was
18· ·out.· And so we needed her to give us these
19· ·spreadsheets that we had always created beforehand to
20· ·make those calls, et cetera, et cetera.
21· · · · · ·We also asked her to find out information
22· ·from the Department of Education because she's the
23· ·main contact in her role with the Department of
24· ·Education.· And during that meeting, she opened her
25· ·laptop several times and wrote emails or had me

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·1· ·dictate what the email should say to the Department of
·2· ·Ed.· It was also learned in that email -- in that
·3· ·meeting that, even though she had been on staff since
·4· ·February of 2016, it was July 3rd of 2018, and she was
·5· ·still emailing a form email rather than emailing Olin
·6· ·Parker or calling him.· She had been provided that
·7· ·information multiple times.· And it was abundantly
·8· ·clear in that meeting that she did not fully
·9· ·understand her job and what that entailed and maybe
10· ·wasn't capable of doing her job, because she wrote
11· ·emails, had me dictate emails, that she should send to
12· ·the Department of Ed during that meeting.· But it was
13· ·mainly to go over a timeline of what needed to be done
14· ·as an implementation director and giving us the data
15· ·we need to do her job while she was on maternity
16· ·leave.
17· · · ·Q.· Did you provide her with a written form of
18· ·the timeline that you anticipated?
19· · · ·A.· It was in the agenda, yes, ma'am.
20· · · ·Q.· Did she --
21· · · ·A.· You know, for that Monday.
22· · · ·Q.· -- seem like she was receptive and trying to
23· ·do what you told her to do?
24· · · ·A.· Yes, ma'am.
25· · · ·Q.· Okay.· So why, when you found out she was

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·1· ·recording, did you immediately assume that it was for
·2· ·some bad purpose and not simply just so she could
·3· ·remember what you told her?
·4· · · · · · · · MR. FREIBERGER:· Objection to form.· Go
·5· · · ·ahead and answer the question.
·6· · · ·A.· Because she also took written notes during
·7· ·the meeting.· She had a notebook where she wrote down
·8· ·everything.· And so, to me, it didn't make sense, and
·9· ·she had never, prior to working for us in February
10· ·of 2016, recorded a meeting with staff before.· This
11· ·was the first time ever.
12· · · ·Q.· (By Ms. Parks)· So what did you feel like --
13· ·why was this alarming to you?
14· · · ·A.· Because, one, I have never had a staff member
15· ·ever record me; two, if you're taking notes, why
16· ·wouldn't you say, hey, guys, I'm recording this
17· ·meeting just so I can have notes and go back and
18· ·revisit my notes.
19· · · ·Q.· Okay.· But what -- you said it was alarming
20· ·to you and you thought you should report it to John
21· ·Schilling.· Like why?
22· · · ·A.· Because it's not customary to have meetings
23· ·in my line of work where somebody records you and
24· ·doesn't tell you.
25· · · ·Q.· Okay.· So what did you think that meant?

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·1· · · ·A.· I think given the history of Maigan's
·2· ·employment and the multitude of instances since
·3· ·February of 2016 where her job performance was not up
·4· ·to par, that it meant she knew she was out of chances,
·5· ·because we had met with her several times and
·6· ·redirected her.
·7· · · · · ·In fact, starting in July 13th of 2016,
·8· ·Maigan and I had weekly check-in meetings at
·9· ·10:00 a.m. every Wednesday with only Maigan, no other
10· ·staff member, because her job performance was not
11· ·meeting the expectations.· She was not my direct
12· ·report then, but I felt the need to do that.
13· · · · · ·Then in April of 2018, it became even more
14· ·apparent that she was not meeting the expectations,
15· ·and so I started having her do weekly reports so I
16· ·could see what she was doing.· And that was as a
17· ·result of multiple times where both Paul and myself
18· ·had to go back and ask Maigan to redo her time sheets,
19· ·because there were big chunks of time where she
20· ·denoted -- that she noted she was emailing and calling
21· ·principals, et cetera, et cetera.
22· · · · · ·It was also after a meeting that occurred
23· ·with ACE Scholarships with Arthur Dupre and Maigan and
24· ·myself on July 20th of 2017, where he gave her
25· ·11 schools that she was responsible to contact and

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·1· ·recruit those schools.· That was -- I followed up with
·2· ·her -- from July 20th of 2017.· I followed up with her
·3· ·on July 24th of 2017, September 19th of 2017,
·4· ·October 10th of 2017, October 5th of 2017,
·5· ·November 15th of 2017, June 14th of 2018, and May 22nd
·6· ·of 2018, and to that point, almost a year later, she
·7· ·had not contacted any of those 11 schools.· And that's
·8· ·in a memo that was dated August 15th of 2018 to John
·9· ·Schilling.
10· · · ·Q.· Okay.
11· · · ·A.· And I'm sure, on these memos, just so there's
12· ·no discretion, Lindsey Rust, the director of
13· ·implementation, and Jennifer Miller, the chief
14· ·financial officers were copied -- I'm sorry.· I didn't
15· ·read that before.· They were to John Schilling, but
16· ·just to make sure the record's straight, they were
17· ·copied on these memos.
18· · · ·Q.· This was sent on August 15th of 2018.
19· · · ·A.· Yes, ma'am.
20· · · ·Q.· Okay.· But you had problems with her work
21· ·performance as early as July of 2016?
22· · · ·A.· Yes, ma'am.
23· · · ·Q.· Okay.· Did you ever tell Maigan that you had
24· ·problems with her work performance?
25· · · ·A.· So it depends on the timeline.· On July 13th

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·1· ·of 2016, I told Lindsey, who was her direct report,
·2· ·that there were issues with her job performance and
·3· ·her understanding of what was required.· And I will
·4· ·say while Maigan was very nice at the beginning,
·5· ·Maigan only ever did what you asked her to do.· She
·6· ·didn't do any additional work, and you had to follow
·7· ·up with her multiple times.· And a lot of times she
·8· ·would ask somebody else on staff to do her job or
·9· ·would give inconsistent, incorrect information.
10· · · · · ·I actually have a text that was submitted
11· ·where I asked for the average scholarship amount, and
12· ·she gave me a number that was much lower which
13· ·couldn't mathematically make sense because, obviously,
14· ·tuition numbers increase, and her number was lower
15· ·than the previous year.
16· · · · · ·And so yes.· I had told -- that's a difficult
17· ·question to answer, because I had told Lindsey, I had
18· ·told John, and then when Maigan reported to me, I
19· ·obviously told Maigan herself.
20· · · ·Q.· So why didn't you do a memo to everybody like
21· ·you did in August of '18.
22· · · ·A.· I'm sure, and I have not read every single
23· ·email that was submitted to you, but I know there's
24· ·been emails where I have told Lindsey at the beginning
25· ·there was an issue with Maigan.· And Lindsey was well

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·1· ·aware there was an issue with Maigan.
·2· · · ·Q.· So why did you wait two years later to
·3· ·terminate her employment?
·4· · · ·A.· I didn't terminate her employment.· That
·5· ·wasn't my decision.
·6· · · ·Q.· Did you recommend it?
·7· · · ·A.· I don't know that I recommended it.· I --
·8· ·since Maigan was hired, at some point I knew --
·9· ·definitely I can say with fidelity, July 13th of 2016
10· ·on, I definitely notated to Lindsey and others that
11· ·there was a lack of job performance.
12· · · ·Q.· But not to the extent to where her employment
13· ·was to be terminated.
14· · · ·A.· I don't know that I ever recommended her
15· ·employment to be terminated.
16· · · ·Q.· What did you recommend?
17· · · ·A.· I recommended as a former educator to
18· ·scaffold for her, retrain her, teach her.· Lindsey
19· ·tried it first; and then eventually in the fall of
20· ·2017, I took over.· Then I asked Paul to help me, as
21· ·my deputy state director, like maybe help me
22· ·communicate in a different fashion than I was.
23· · · · · ·And so we decided to start -- I think he
24· ·tried for a while, and then we decided to try and
25· ·start meeting with her together, which is why in 2018,

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·1· ·they were in the scholarship program or the tax credit
·2· ·with updated information.· So location of the school,
·3· ·the principal, the secretary, because nine times out
·4· ·of ten, it was the secretary that would deal with the
·5· ·parent satisfaction surveys and not the principal.· So
·6· ·she needed both contacts.
·7· · · · · ·When she left her job and we took all the
·8· ·emails -- and you should have her spreadsheets,
·9· ·because I think every email exchange between us was
10· ·provided through discovery.· Those spreadsheets that
11· ·are contained in those emails when the new person took
12· ·over, over half the spreadsheet had not been updated
13· ·since her tenure in 2016.· And the names and contacts
14· ·were wrong.
15· · · ·Q.· Okay.· The new person took over.· What do you
16· ·mean when the new person took over?
17· · · ·A.· So that job title changed, and it became a
18· ·director of implementation and government affairs to
19· ·meet the new role of the team.· And when the person we
20· ·hired to take over implementation and assist with
21· ·government affairs went and we sent her all of
22· ·Maigan's spreadsheets, when she went in, over half of
23· ·it was wrong, and she had to spend multiple days,
24· ·maybe even a week, redoing all those contacts.
25· · · ·Q.· Okay.· What -- where did you get this

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·1· ·spreadsheet of Maigan's?
·2· · · ·A.· From Maigan.
·3· · · ·Q.· Okay.
·4· · · ·A.· She sent us all her files before she went on
·5· ·maternity leave.
·6· · · ·Q.· Did you ever -- did anybody ever notice that
·7· ·and say, hey, is this your most recent spreadsheet,
·8· ·because it's not up to date.
·9· · · ·A.· I'm fairly certain, and you should have the
10· ·email, in her email she said it was the most up to
11· ·date, and here was all the updated files.
12· · · ·Q.· Who is the new person that was hired?
13· · · ·A.· No one.
14· · · ·Q.· You just said that when the new person got
15· ·the spreadsheet, she found out that --
16· · · ·A.· And she's not with us anymore.· After COVID,
17· ·we had a tragic year, and she's not with us, like she
18· ·no longer works for AFC.
19· · · ·Q.· What is her name?
20· · · ·A.· Her name is Amy Echols.
21· · · ·Q.· Okay.· And when did she come on?· When was
22· ·she hired?
23· · · ·A.· Ooh, I don't know.· I don't know specifics.
24· ·She resigned this year, though, due to COVID.· We had
25· ·a tragedy within our team.

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·1· · · ·Q.· Okay.· What was that?
·2· · · ·A.· A death of one of our employees from COVID.
·3· · · ·Q.· Okay.· Who was that?
·4· · · ·A.· In April of 2020.· Ed West.
·5· · · ·Q.· Ed West?
·6· · · ·A.· Yes, ma'am.· Edward West, Sr.
·7· · · ·Q.· Where did he work?
·8· · · ·A.· For AFC.· He was our grassroots coordinator.
·9· · · ·Q.· Where was he located?
10· · · ·A.· In New Orleans.
11· · · ·Q.· And he passed away when?
12· · · ·A.· April 3rd of 2020.
13· · · ·Q.· And why did that lead to -- Amy Echols
14· ·leaving lead to that?
15· · · ·A.· I can't tell you for sure, but we all met
16· ·together as a team at her house on March 13th.· And
17· ·prior to that, she had tested negative for the flu but
18· ·was diagnosed with the flu, spent two weeks deathly
19· ·ill with high fever, and then from that March 13th
20· ·meeting, Ed contracted COVID at some point, died on
21· ·April 3rd.· I have tested positive for the antibodies,
22· ·so Paul suspects that she probably was misdiagnosed
23· ·and could have potentially given it to all of us and
24· ·didn't know.
25· · · · · ·I don't know why she resigned, because it's

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·1· ·not my place to ask her.· She just said COVID was a
·2· ·lot, and the passing of Ed, because we are like a
·3· ·family, was a lot for everybody.· And so I can't
·4· ·answer.· That's the timeline of events.
·5· · · ·Q.· Okay.· But you assume that that had something
·6· ·to do with her decision?· Ed's passing?
·7· · · ·A.· I kind of do, yeah.· But I can't tell you
·8· ·that for a fact.
·9· · · ·Q.· So who does her job duties now?
10· · · ·A.· I do, Paul does, and Tiffany does.· We've
11· ·taken on the role of two team members now.
12· · · ·Q.· Do you know how long after Maigan was
13· ·terminated that Amy was hired?
14· · · ·A.· I don't.
15· · · ·Q.· Do you know if it was a year or three months?
16· ·Some sort of ballpark?
17· · · ·A.· It wasn't a year.
18· · · ·Q.· Okay.
19· · · ·A.· I don't know how many months, but it wasn't a
20· ·year.
21· · · ·Q.· Okay.· And what duties did she have?
22· · · ·A.· Implementation, but at the time, the
23· ·implementation role, and even in 2018 that role, was
24· ·starting to shrink because our current governor does
25· ·not believe in school choice; and so our programs

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